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                               UNITED STATES OF AMERICA
            WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION
Brian Alexander,                                            File No: 1:18-cv-930
       Plaintiff

       v.
                                                Hon.
Steven J. Kwasnik and                           U.S. District Court Judge
Annie Harrison,
       Defendants.
___________________________________________________________________/
J. Nicholas Bostic P40653
Attorney for Plaintiff
909 N. Washington Ave.
Lansing, MI 48906
(517) 706-0132
                                                                                          /
                              COMPLAINT and JURY DEMAND

       Plaintiffs, for their complaint, state:

    1. This is a civil action seeking money damages and equitable relief for violations of the

United States Constitution and federal statutes under 42 U.S.C. §1983 and state law claims.

    2. Plaintiff Brian Michael Alexander is, and at all relevant times was, a competent adult and

a resident of Ingham County in the State of Michigan.

    3. Defendant Annie Harrison is a deputy sheriff for the Ingham County Sheriff, her county

of residence is unknown, and her place of conducting business is Ingham County in the State of

Michigan.

    4. Defendant Steven J. Kwasnik is an assistant prosecutor for the Ingham County

Prosecutor's Office, his county of residence is unknown, and he conducts his business in Ingham

County in the State of Michigan.

    5. This cause of action arose in Ingham County, and in the Western District of Michigan.

   6. At all times relevant to this matter, Defendants were acting under color of law.


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      7. This Court has jurisdiction pursuant to 28 USC §§1331 and 1343(a)(4) for the federal

claims.

                                      GENERAL ALLEGATIONS

      8. Paragraphs 1-7 are incorporated herein by reference.

      9. The complainant, Madison Bostwick,1 alleged that her stepfather, Defendant Brian

Alexander, on four occasions grinded his clothed genitals against her clothed genitals.

    10. Ms. Bostwick's mother, Stefani Alexander, during 2014 learned that Madison was not

        being truthful with her on more than one occasion.

    11. Stefani caught Madison lying to her about her whereabouts among other things/

    12. Plaintiff and Stefani had become concerned with Madison’s behavior.

    13. They both had caught her lying as well as doing illegal acts.

    14. Plaintiff was involved in disciplining Madison for these things.

    15. Also in 2014, Ryan Bostwick notified Stefani and their daughters that he was moving back

        to the Lansing area to be closer to them.

    16. Madison expressed that she wanted to live with her father.

    17. Stefani was aware that the rules for the children in Ryan's house were more relaxed.

    18. Around Christmas 2014, Madison falsely told her younger sister (MB) that Plaintiff had

        sexually abused her on several occasions in the spring of 2013.

    19. Madison made up four events all of which were essentially similar and as described in ¶9

        above.

    20. Madison only gave a detail capable of verification for the "last" event she claimed.

    21. Madison claimed that the last event occurred in her parents' bedroom watching television



1
    Although a minor at the time of the allegation, Ms. Bostwick is currently an adult.

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   when she was sick and at home from school.

22. Madison testified at a preliminary examination unequivocally that she had missed school

   on the day of the "last' event.

23. Madison subsequently told her boyfriend and Stefani.

24. Stefani arranged a confrontation with Madison and Plaintiff and Plaintiff denied the

   allegations.

25. A few days after Madison told her sister, MB told a teacher who reported the incident to

   Children's Protective Services.

26. CPS and the police then initiated their investigations.

27. Defendant Annie Harrison of the Ingham County Sheriff's Office was the assigned

   detective.

28. Defendant Harrison claimed to specialize in investigating child physical and sexual abuse

   and adult sexual assault.

29. She interviewed Madison, MB, and Stefani and then applied for a warrant to arrest

   Plaintiff.

30. She did not conduct any further investigation before getting the warrant.

31. Plaintiff voluntarily met with Defendant Harrison, waived his Miranda rights, and

   participated in an interview with her, after which she arrested him.

32. During the course of her investigation, Defendant Harrison learned that on March 11, 2015,

   Madison had suborned perjury from her boyfriend and did not investigate that incident by

   reviewing Madison's phone or obtaining her phone records.

33. During the investigation, Stefani had informed Defendant Harrison about the several

   instances when Madison had lied.



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34. Defendant Harrison did not follow up or investigate those events.

35. During her investigation, Defendant Harrison would corroborate information received from

   the Plaintiff's attorneys but took no steps to corroborate or refute information from

   Madison.

36. Defendant Harrison was aware that Madison's behavior was causing her to get into trouble

   at home and this included taking photographs of herself that were inappropriate.

37. On February 26, 2015 at the preliminary examination, Madison testified that the “last

   time” Plaintiff allegedly assaulted her was when she was home sick from school.

38. Plaintiff's defense attorneys obtained Madison’s school attendance records which showed

   that Madison never missed any school during the relevant time frame.

39. On July 30, 2015, Plaintiff's sister, Jennifer told Defendant Harrison that the Plaintiff's

   attorneys had Madison's phone or phone records or both.

40. Plaintiff's attorneys turned these records over to the prosecution on August 1, 2015.

41. Defendants Kwasnik and Harrison met with Madison approximately one week before trial

   and informed her that the school records contradicted her story.

42. Madison gave them a new story that claimed she had indeed been sick, but she had texted

   her mother from school and her mother told her to tough it out and stay at school.

43. Plaintiff's attorneys were unaware of the new detail until Madison testified during the trial

   on August 31, 2015.

44. Defendants Kwasnik and Harrison withheld this information from Plaintiff's attorneys.

45. Defendant Kwasnik unfairly used Madison’s text message story to increase Madison’s

   credibility and damage the credibility of her mother, Stefani Alexander.

46. On September 3, 2015, Plaintiff was convicted as charged of four counts of second-degree



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      criminal sexual conduct (CSC), MCL 750.520c.

 47. After trial, Plaintiff's defense attorneys investigated Madison’s new story.

 48. Upon obtaining cell phone records, it was conclusively established that Madison had never

      texted Stefani about being sick at school.

 49. On November 15, 2015, the 30th Circuit Court granted Plaintiff a new trial.

 50. On October 6, 2016, the Michigan Court of Appeals reversed the trial court and reinstated

      Plaintiff's conviction.

 51. On June 21, 2017, the Michigan Supreme Court reversed the Court of Appeals and

      remanded to the 30th Circuit Court for analysis with the correct legal standard.

 52. On August 16, 2017, the 30th Circuit Court upheld its original decision and entered an order

      granting a new trial.

 53. On September 25, 2017, the trial court entered an order dismissing all charges upon the

      prosecutor's motion.

 54. Defendant Harrison did not document Madison's new corroborating detail about the text

      message in a report likely to avoid the disclosure requirements of state criminal practice

      rules and Brady v. Maryland.

55.      Defendant Harrison and Defendant Kwasnik did not disclose the new corroborating detail

about the text message to Plaintiff's attorney likely because they had been told that the defense

attorneys had Madison's phone and they could not risk the defense being able to disprove the

claim.

                     COUNT 1 – CONSPIRACY TO DENY DUE PROCESS
                      (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

56.      Paragraphs 1 through 54 above are incorporated herein by reference.

57.      On or after August 12, 2015 through August 31, 2015, Defendants Kwasnik and Harrison


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did conspire or agree with each other and others currently unknown.

58.    A purpose of the conspiracy was to impede, hinder, obstruct and defeat the due course of

justice on behalf of Plaintiff in the 30th Circuit Court for Ingham County, State of Michigan

unlawfully and in violation of 42 U.S.C. §1985(2).

59.    A purpose of the conspiracy was to deprive Plaintiff of the equal protection of the laws or

the equal privileges and immunities of the laws of the United States and the State of Michigan

unlawfully and in violation of 42 U.S.C. §1985(3).

60.    On or after August 12, 2015 and through August 31, 2015, Defendant Kwasnik

committed an act in furtherance of the conspiracy by failing to disclose Madison's new version of

the corroborating detail to Plaintiff's attorneys as required by the Due Process Clause of the

Fourteenth Amendment.

61.    On or after August 12, 2015 and through August 31, 2015, Defendant Harrison

committed an act in furtherance of the conspiracy by failing to document Madison's new version

of corroborating detail to prevent its discovery through mandatory disclosure to Plaintiff's

attorneys as required by the Due Process Clause of the Fourteenth Amendment.

62.    Plaintiff was harmed by the conduct of Defendants in that a jury was convinced they

should believe Madison and not believe Stefani or Plaintiff due to the inability to properly cross-

examine Madison.

63.    The harm in Paragraph 62 above was a direct and proximate result of Defendants

withholding exculpatory information from Plaintiff's attorneys in violation of the Fourteenth

Amendment to the United States Constitution.

64.    Plaintiff was harmed by the conduct of Defendants in that he remained convicted until the

order for a new trial was entered on November 20, 2015 and during that time he suffered the



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stress, embarrassment, humiliation, and emotional distress of being a convicted felon, having to

register on the sex offender registry, permanent loss of his employment as a police officer, and

severe stress to his marriage.

65.    Plaintiff was harmed by the conduct of Defendants in that he incurred the unnecessary

and extreme expense of retaining attorneys to continue his defense through appeals by the

prosecution and appeals on his behalf until the matter was dismissed on September 25, 2017.

               COUNT 2 – DENIAL OF DUE PROCESS BY DEFENDANT KWASNIK
                      (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

 66. Paragraphs 1 through 65 above are incorporated herein by reference.

 67. Between August 12, 2015 and August 31, 2015, Defendant Kwasnik had a duty to disclose

      the information from Madison concerning her new explanation about the text message

      because the disclosure would have furthered impeachment of Madison as a witness.

 68. The duty to disclose was clearly established as existing pursuant to the Due Process Clause

      of the Fourteenth Amendment to the United States Constitution.

 69. Defendant Kwasnik deliberately and maliciously withheld the information for the purpose

      of violating and did cause a violation of Plaintiff's constitutional rights under the Due

      Process Clause of the Fourteenth Amendment.

 70. Defendant Kwasnik's conduct was a direct and proximate cause of harm to Plaintiff as

      described in Paragraphs 62 through 65 above.

            COUNT 3 – DENIAL OF DUE PROCESS BY DEFENDANT HARRISON
                   (42 U.S.C. §1985 – FOURTEENTH AMENDMENT)

 71. Paragraphs 1 through 70 above are incorporated herein by reference

 72. Between August 12, 2015 and August 31, 2015, Defendant Harrison had a duty to disclose

      the information from Madison concerning her new explanation about the text message



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                                      JURY DEMAND


      Plaintiff hereby demands trial by jury on all counts.

8/16/2018                                           /s/ J. Nicholas Bostic
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                                                    909 N. Washington Ave.
                                                    Lansing, MI 48906




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